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1                           DECLARATION OF MACK E. JENKINS

2          I, Mack E. Jenkins, declare as follows:

3          1.    I am an Assistant United States Attorney and one of the

4    attorneys representing the government in the matter of United States

5    v. Mitchell Englander, 20-CR-35-JFW.        I have knowledge of the facts

6    set forth herein and could and would testify to those facts fully and

7    truthfully if called and sworn as a witness.

8          2.    Exhibits 1 are 2 are, respectively, the transcript and a

9    true and correct copy of the audio recording (on CD) of the February

10   12, 2018 meeting between defendant and a confidential source.             This

11   recording was produced to defense counsel at Bates number ME_002660

12   subject to the Court’s protective order in this matter.

13         3.    The transcript was prepared by the government, including by

14   persons familiar with the voices of defendant Englander and the

15   confidential human source.

16         I declare under penalty of perjury under the laws of the United

17   States of America that the foregoing is true and correct and that

18   this declaration is executed at Los Angeles, California, on January

19   11, 2021.

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21                                             MACK E. JENKINS
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